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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11   MICHAEL DEWAYNE ALLEN,        )          NO. CV 20-7952-DMG(E)
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )          JUDGMENT
                                   )
14   WARDEN DOE, ET AL.,           )
                                   )
15                  Defendants.    )
     ______________________________)
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18         IT IS ADJUDGED that the Second Amended Complaint and the action
19   are dismissed without leave to amend and with prejudice.
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21   DATED: November 30, 2021
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24                                                     DOLLY
                                                       DOLLY M. GEE
                                                       DO
                                               UNITED
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                                                       TATES DISTRICT JUDGE
                                                      ST               JUD
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